Case 5:06-cr-04070-MWB-KEM   Document 106   Filed 06/11/07   Page 1 of 6
Case 5:06-cr-04070-MWB-KEM   Document 106   Filed 06/11/07   Page 2 of 6
Case 5:06-cr-04070-MWB-KEM   Document 106   Filed 06/11/07   Page 3 of 6
Case 5:06-cr-04070-MWB-KEM   Document 106   Filed 06/11/07   Page 4 of 6
Case 5:06-cr-04070-MWB-KEM   Document 106   Filed 06/11/07   Page 5 of 6
Case 5:06-cr-04070-MWB-KEM   Document 106   Filed 06/11/07   Page 6 of 6
